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               1                                                                          The Hon. James P. Donohue
                                                                                              Chief Magistrate Judge
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               8                                UNITED STATES DISTRICT COURT
                                               WESTERN DISTRICT OF WASHINGTON
               9                                         AT SEATTLE
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                                                                    CASE NO. 2:17-CV-00218-RSM-JPD
           12
                   Daniel Ramirez Medina,
           13                                                       DECLARATION OF LUIS CORTES
                                          Petitioner,               ROMERO IN SUPPORT OF
           14                                                       PETITIONER’S RESPONSE BRIEF RE:
                                  v.                                COURT’S FEBRUARY 14, 2017, ORDER
           15      U.S. DEPARTMENT OF HOMELAND                      DIRECTING SERVICE, SETTING
                   SECURITY; JOHN KELLY, Secretary of               STATUS CONFERENCE, AND
           16      Homeland Security; NATHALIE ASHER,               SETTING BRIEFING SCHEDULE
                   Director of the Seattle Field Office of U.S.
           17      Immigration and Customs Enforcement,
           18                             Respondents.
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Crutcher LLP       Case No. 2:17-cv-00218-RSM-JPD                                          Counsel listed on next page
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               1   I, Luis Cortes Romero, declare as follows:
               2      1. I am an attorney admitted to practice law pro hac vice before this Court. I am a managing
               3          attorney in the law firm of Barrera Legal Group, and I am one of the attorneys representing
               4          Daniel Ramirez Medina (“Mr. Ramirez”) in this case. I submit this declaration in support of
               5          Mr. Ramirez’s Response to the Respondent’s Brief re: Court’s February 14, 2017, Order
               6          Directing Service, Setting Status Conference, and Setting Briefing Schedule. The following
               7          facts are within my personal knowledge and, if called and sworn as a witness, I would testify
               8          competently to these facts.
               9      2. On Saturday, February 11, 2017, I began representing Mr. Ramirez in connection with his
           10             detention by U.S. Immigration and Customs Enforcement (“ICE”).
           11         3. I visited Mr. Ramirez at the Northwest Detention Center, a private immigration prison
           12             operated on behalf of ICE, in Tacoma, Washington on February 11, February 12, February 14,
           13             and February 15, 2017.
           14         4. Each time I visited Mr. Ramirez, I signed in as a lawyer visiting Mr. Ramirez.
           15         5. Each time I visited Mr. Ramirez, he showed me or spoke to me about all the documents given
           16             to him since his arrest on February 10, 2017. I have not seen a Notice to Appear, nor have I
           17             seen any other document related to removal proceedings. I have also not seen any document
           18             relating to the termination of Mr. Ramirez’s Deferred Action as a Childhood Arrival.
           19

           20             I declare under penalty of perjury under the laws of the United States and the State of
           21      Washington that the foregoing is true and correct, and that I executed this Declaration on February
           22      16, 2017 in Seattle, Washington.
           23

           24                                                               /s/          Luis Cortes Romero                   _
                                                                                      Luis Cortes Romero
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Crutcher LLP       Case No. 2:17-cv-00218-RSM-JPD                                             Counsel listed on second page
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